CV

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- hun imoge

Case 4:03

“0 BOM. 879 ax
2 SNM SMO mous ata ‘stu

€Le

ednjos & STU Ss] gsyUSLUMIOp ase ‘saatsojdxa ‘sBnrp ‘und y :Surppouros
Sunued ey s] :psoer purur Ay “yuna ay pouado pue uogiust ayy wo
skoy 94} YOO) spy Jed AUT spisur punose paSeununs auo job aa
«flys Tequnq suuexoy ssureu inox gyNy ‘sexay, roquariu axed asuaoTy
mod sn oae8 pue soueqinisrp ayqnd & paiodar sey Waptsel oy],
ts WE] “INO at yINd
03 FOND Mo} e Joy Sutem wy “Sutpueysrapunsriu suros useq $219 T,,,
“JUETIEM YoIees & pey aE] ‘JUatuour Aue ye [pays Aut

BuryoeIo pourseun | wy IYSTYSeB [aoa Suoj-100y sry Aq poveurumyp ‘our

jo quoy ut soded & poysey iayeads ayy, -aporyaa at wo Aeme dais,
‘palo J sec uOssayy, pue TTS
—Umerp sungpuey ‘surojrun ut usu omy paoey | ‘size Aur poster J
..2A0TH JuOp ‘dn spuryy,, ‘Pareyq so10a JTEUI &
‘Suryveds sem oy wo sm90j pno> | s1Ojeq pue ed otf} Jo no poddays 7
‘SYST MOTSA paysey syon.y mo}. your yeIp pur Aw pessosd a ysnoyaye
‘paumMsse | “YS MO} 243 — poysey 2B par y ‘ayeme poaol sem J ust
UIvaIp PUE IYsNOY) Jo JapIoq a3 UO sem pur daayse pay Apreou J ‘JTEM 0}
zeo Au UT yorq poquirD | -paq WIE sny oO} psuIMial pure yonz) moj 34)
PeTe> pay pasoddns | asnoy ay ur no wom sIysy oy] Ajaverpaunyy
‘eoey AUI UT JOOp ay} poUTUTEys pur ‘pres ay ‘UIST [Te ILI.
«eQnp> o3ne 943 Teo 07 pasu | ‘Aemoatp mod
UT ySnys 308 pue punoze wing 0} BuIA sem | NOA ayem 07 ArI0s ULT,,
‘T4sTa arp Jo eTppru
OY? UL damoryayy aya Surjas sou syeaoyaf x Io JOITOTIOs atao2;aaun
Ue aq wan | snowy ay JI se papunos apy «@JUEM TOA Op TEAK,

UPI © pure “UO paysey SYST] oY] T2q aya Suez pue roop ay3

: “Open 7 ‘ACAMDALIP & UL YURqMOUS & Ur yomys sem | ‘unds pue paurya

man a T SoyM WisasIp 1UpfMos J pur ‘sves-ap-7nd out yyBa Fur
shoyy sous I ‘punore wim 01 soeyd ayes e puy 02 JUSUIdOTASp PeNUSpTsaI

fama t =a OUT SAE] 9) premoy pouiny os uINI yoy Aca passmu | “pu
AN Sta‘ge AceayStpy UO 30] Suryzed oy Surzeap yom ye Apeare

Y 08 09 ys | sy “YEYS featdsoy Ava rage qnyp

‘ZOOp ayy pauado ‘agor mop Ariaq ayy & UT padderm ‘age _

SYeIeEy Je SEM J APM Ul pareor prezzyq & ‘Areniqay ut wd aug -
“YIOM aye auloy Suro3 pepearp J ‘Tnyured pur payjsedxeun .
SEAL JOT [ SSOUTPSUOT au) pur ‘sTeoA aay A[TeSU JOF QUOTE Paar] JOU pey J ‘YT
Tys AayTeA ATHoarazy Sy} JO JOO} a Ye IE] VYI JO apts eLMIOFTED sty} uo.
yuswyiede poystuiny ‘Tews ev poyuor | ‘puey AU Fo sured yseo oy) UST AA

‘aIOYsaye] am) uo. dn
poyseas Jey3 soTpog peyUeprun ynoge Jaded yeIo] Sy] UT sUTAyT SAAT TELUS
at) paiou | puy “siamopqaous ut spuey stay zydnes Buraey ynoge BurAy.
alam ‘pazaaes Ajueap> puey 3ysts ‘woos Aouadisure eyy ye Surpeeyq pue
auOCTE poate OM Wau SumoA pads—prey ssoup Jey) Mouy | ng “uone
-arer Aypyeay oj armen oy ATWO puoras payue Suyquies oroyM ‘aoetd
AjFUrey ‘WeapD B SEA SORT, Jer “sqnyjo aouEL st Uo JWesqe sem oUITID
poztuedio yey3 ‘yu & yim padeyar shee ‘pusday & Os[e sem sI94 J,

SQN]? St} UI saTp auO ON,,
‘Aem JET auOp sem 3 AY asInU at payse | “Burusss auc ‘Tendsoy op Ut
parp pet ay 1eu3 Sapeorpur xoq ay) SEU 03 BUT jaNpP pur a¥r9uIe pynom
JOOP st Usy) pur ‘WoO SUTUTUMEXS By OFT poposyan sAemye sem asd309
ot yng ‘Teale uO peap aq oj pameadde Asy] ‘sanyenses yons paaresed |
‘urooa AoueSioma yendsoy ay) UT ‘Mon ‘peaoures Apustoaya pur Apdusoad
SEM PUL JAAO papsay ‘UkUT SIEM pose-s[ppru & Aqensn aoAdepd e ATeUoTs
-8900 JE paryou pey J ‘sqnpo et SuUTMIEOR “STUSpIOIe pey poy sIsETs
Apsour ‘soipog usyorq Jo prFoos & 0} papual pue “Wey Z 01 ‘Wd 9 WOR.
payiom ] ‘moor Asuadiswe pendsoy tp syuaned Suisaysidar qof ou &
pours | ‘papeay] pey puey Aur ust, AA “OTTeZTq SEAL [eudsoy [eso] sy3 was
“HOM PET] TTY 3se9] We ING “SFT Aut jo Soqnuruy saduo] ayy ‘saInUIL Was ut
JOAO sem YS sty dey aya at PayoIo]q PCT, 3ng “yeaqy Sutouep SITY UO
snooj pue pEeaye ISrens oreys 07 patsy | “YA YUpfos J pur ‘aut sUTEITSAO
postreny “arey Aur un ‘aoe; Au UO ssoUPPNS SH 39} | “Sumpopo Aux paypods
pue ie sup pay pool pur roms Jo seads ouy ¢ ‘Sungqds ysog ‘Surddeus
pue Surypuni souog pum ‘seu pauzm 748g ey) uaYy, ‘syusuTaAOU SUT
-ureydxo pure sonsneys no SuMnoys Paso] PIeMOY ystm ywy]feq & ayy] ISOUATE
‘remnoejoads sem ptnor ys1y ayy, “oedKe 01 Jey Eapr OU. Pry J OS oe:

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sie

“pip oy ‘estadams Aum of ,-Adoo e our saTd “JodmeT WMO AU UL],,
‘pres doo an , “yeu Op 09 JoAme] & 198 L108

nox,, ‘Wodaz aaqod aq) yo Adoo e paysanbar pur pref oq 07 pauanaer J
‘MOUY 0} WoT} JEM YUpTP | :ApMy pure uel payse aaey
qaaau pnom | Asuow! ay 193 pom | sray eapt ou pry py se ‘paaoyaa
sem J ‘Puod Zt} JO} peroyeyfoo se eo Aw uo dys yurd omy aye 07 Bur
—]M sem apy AemySNy ay ssolse asqjO sn] oO} poyfem ayy “OUT SyOmM UE

-spuog au) [oun Aynyssiyq adozs uot pur ‘sdda payqurezs plod ay} aze |

“powanel suTRISHE © HOY
smooo sheave yey Astys99 at] ‘SuTaq-TTom Jo eine ey) ut padopeauo sem |
“mooTed & SuLaeg] Ire ayT] ‘pasea amnssaid ay] “our rey JOU pIp WI pure ‘waya
FEUIOIPSUr ay} Joy payem | ‘YIeaIq & SUPE] moTWM youre dno ajoym
ay) yuerp | ‘peyoos pry 3 ‘“sayoo Appnin jo dno saded a8re] & ‘aayoD

“HAT pure pres oy, sepyesrg,,
sieq aU) ysnomy3 xoq MoOTPA ISI & pssoys eysed e UT pa[puNg Tea

VW ured ot) qitm SuTyD01 ‘spuey ur peay “poq atp Jo apis oy) UO es J

0 Ft 3nd os “sIodar aotjod ayy ut Furo¥ $37,,

“pres J ‘AqI0s UL],
"PuUNOs [EULLUE Wy ‘IPST] 0} ST IOy paprozal—-adey souo Aum yey)
Suos#us Surssaid ‘ariaa ue ‘payrem | pur at pasoystdar ureiq Aw yng ‘ured
23 JO SssUSNOTISUOD 380] | ‘AUTeIsHU e ILM dosjse [J | oy pousddey 3

‘se at) YO Sursunog Supem Au jo ssoyos oy) Jesy wouTE pmo |
.cSUMUESIDS

Peulep yey) dog, ‘ayeme Jur papseys szeq ay] UO shS¥ JO JOEL at],
“SSOUMIE|G O7UT [Jay ATEUY pue paysiim pue powasmnbs | ~punos ayy apynur
9 P21 pu poueowl j -s]qereaqun sea ured ZurqqoNp a], peay At 1940
* Wil syjeorq yupfnos | pure ‘Ayoqeras pure 3OY] SEM JOYUETG ayy ‘areyy wu
Sax8ap S8 punore Ajgeqord sea H SSuNEayIeAO WOT poluesys wo01 aL

Prey Aun Petaa02 pue JaxUETG [OOM UMOT ‘UT 243 Japun pope |

. « PIOY OF TUTE sty Ape] AF,

ce ‘sauterstw AU aaatar padyjs

ONEEFO ‘Assopoureys Smug ‘pasZaq | ,,2esea[d ‘99909 yo dno vy, "

_cABMA ONT,

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‘ayeradsap sem | Ing ‘aurersnu
UMOTG-][Ny & azey JOU prnom urTdse mauy | ,.sUTIIdse ue aaeq J AeWy,,
“pres oy] , SUOnEMBal jsuresy,,
‘IOOP palzeq at psyxd0]
ay se Jodsey Aum 0} papesrd | _aseayd ‘yo 1y3q] ey WIM) nod ueD,,
‘ouTeIsm AUT paim103 1ST Sur

_ Too 7y811q at,Z, ‘sT]29 pref omy ay} Jo suo UT au payxsoy Asy.L, W'v 6 JOUN

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_CSUSEPESY VUTLISTIN ¥ QaeYy y ALIOS UL],, ‘uTETdxa O39 pty
] ‘Sunsisar sem | ySnoy ay mowy J ‘syatid Ieap yeS 0] umop pury Aum
Surproy astam Aur oyorq Apeau Jaoqgo padouwe ey) pure ‘“ATqeyorucsun
paysol spuey Aur powutidiaSuy Sureq sem | sy “seuT] ou Mojaq ATTesTeIIa
Suni ‘ata srojoq peserd surzoj ay} Ne peyy | “sourTeq Fo “poyquanas
pure paddin J ‘easneu pure ‘uonEyuarsosIp ‘ssaUTZZIp —oUTeISTI & JO SUIO)
-durds at 09 Aem aavd wyeo Ay ‘uo eto FYyBnorq shee sadepins AUTYS
FO pawogar wSy ywsuq-—sul paumsucs suUTeISMU — spuosas UTITM
pue syySq] Juaosaionp wysIIq pewopar sem sty Aurys ayy ‘eprsu]
“pel & sea Surpping ey
Jey} pasvou 1Upey J ‘syoog yno payooys J syotas ATeIgy AVIo wiooI-3u0
ay Woy ej jou pure ‘esq uoneqoid AU yaw |] aay Suprng ayy oF
quaselpe seam pref Aato soYe], aye] YINOS oy} Pesnoy yey? Surppnq poo
-par yenbs ayy, ‘s8upunorms Aur pozmudooar pue punore paourls ]
-solewonnpoaar ye yurM Upp sdoz ‘Areuonnjoaar v ueyp eyed
Iayooy & seas | WSNOY} ay sdeyrag “SUI Je PSAULAA apy oid year ¥ ‘atyoos
Joos suios arno4,, ‘pres ay] Jeo yoyed ay) JO NO aut paynd doo ap SV
"1T9TE PUE SFEAME SPL SEA | MON] “stead om} ysed ayy Sulmnp
sour AUEUI alayi Waeq pey F—oyeIs pasaqe TelUey yeu UT apqeioyuTo05
Wea} ] “Weop Jey “Puruuns “Guayis “Teal? “Wyeo—asuodsal snrurojne Ue
PoeIoyS IYI ed} JO Pury ay} Tea} Jo pO elf) porsyua | ‘UTEBE 3IUQC)
“ze poured
ay JO Yyouq ay) osu ysmgpeay peysnd puke paynopuey sem |,” ~ WTS
uretaz 0} WS stp osey nog,, sswysis ATU sur peor doo ys1y 9U.L

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LLE

-1a7ap-jjas JO UOPEZTESI 2y] yey Ino patjeds yusumMI0p sy y ,“UoReuru
-JajapJpos werpuy,, JoJ zoddns yo sastuoad usredures sty ur papnpout pey
oy ‘UOXIN 0} ,,WreIdorg JUIOg AjUaML,, E PassoIppe sIOJETSUOUTAp SI],
Assequig weoveury aspen] oy, 2 Sururepoid “Burpying vig ay) uo
jaueq adie] & Suny pey pue vowunysey 09 ABA OTN TTE JseOD ISAM, OTF
WLOY payyeM pey sevIo pur ‘stwwmo} ‘suoMeArasal JO suaZOp Woy sueoTIeury
aANeN , SeMETL, UsYOIg Jo PRL UL, PCO O'C ‘Vowurysey wt
Suiprng (VIg) sarepy uepuy jo neong ayy Sursdn330 usuIOmM pur UaUr

UEIIOUTY SANEN] SUNOA paoej-poyured ‘parrey-suoy jo sadeun poysey pry —

HOTSAaTA} AY} Tequroson] snolaaid ay) UON2e}Ie2 SUOXIN] Jaye uOOS
SOWEI], USYOI JO PIT, WL, JO SUIS [eso]
at) SEM SaTY PepUNOAA ‘SMA UOTSTASTA] ayy UO pure sIadedsmau jo saded
JUOT SYi UO TEA UTEUGSTA, ot) pooefder‘g AeA] UC popus pure /z ATeNIqag

Uo ueSaq YOM ‘sayy pepunoy, Jo aSais oui Arenaqay sx] Uy
*JUOTJSIO} AY} UI 3g plnom systuTuIay ‘ads
IsqEWes—-YUE AxXIU ITY UT JI Teapo sem a ‘sdoy sem a19y3 SUI 0} pottoas
Te ‘JUSUMOISNYIsrp AU WO payor | se ING “WONNOAa JsTeID08 E :ppnoD
SJUPUISAOUE S}YSLI [AID IO “UOpMys “TEADUE 9) WEY sour Aue ‘sonpoid
JOU PMOS IL JE] Sanpeutos payedxe pey ] ATeuoMNpOaeT 1OU ‘ysTUTIOFSI
Aypesyuourepuny SEA S[OYAA FE SE JUSTIAOUL UOPIoqI suemtoMm ay}
IY psspopmouyoe | ‘Aleut ‘Bunsensrp pue moyoy peureas A1oI1A sty
JO WOTEIQS[99 oT] aU OF PIE ‘JOEIUT poureUter usIOM Jo uoTssaiddo pure
uonEO[dxe 34] jo sasneo yoo! ayy, “opyeq auO yey) SurTULM UO pesns0q
UOMUSIE [TE YI ‘uOneIagy] SUIOM JO INssI JULUTUIOP ay) aUIOIAq pry
HoToge Jey) pautsss 31 nq ‘AJOIOIA JWeHOdUT UE SEM I MOU | “paaros
2946 Ppom ay Jo suafqord oy [fe Jt se UOIsIIep ou Surpney, usars
°H UO peacadde woutarg e0js) pue uepatay Aeg jo saoey rerey oy 1,
‘Vonroge Suntqnyoid SAAR] [JE pa[fszeac apyy4 4 aoy ur ynod euraidng
“B “ELG6L ‘ez Arenue{ uc ‘sadeumt worstasjay ut Aq of prom on] payoiem
] qmennUeS at) JO agpa aybeg at} JO JOOI EpeAIN] eTIZIg ay} WOT]

‘portdxa aseay yITOUI-xIs Aw 39u0 ‘Iapiog 3785

9] - 850. ‘
% “ “AL SU} JO SPis rayIO ay} 0} BACLT 0} Paplop | ,;Njares ag

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i

OLE

“ayy SuNgsy ur eaayaq | “Way wydNo} ],, UEUIALA UT sates 09 posnyzax
peg pue iojoa{qo snonuarosuos & sem oY JY) SW PTO] oy UsYT, ."yOeq
ySy xUOp nod fF nod Burssexey, dooy TWAPUL,, pr09e1 Au Yo Ww 308 pue
TEED 02 IT OYE} 0} TTY MoTpe 09 ‘uTeSIEq evajd 03 JOU au pasin waaay¢ ‘dnjas
e taoq aaey APUr JsalIe SY) JeTB pur ‘ssnTAnoe AUT SUTIOINOTI sew Ida
amy set pawedxe | Surtes ‘sonrod Au papeoaar J “9900 ST] UT Jour am os
‘Aep JEU) WAKOI UT sem aL “Yoom & SAEp OA) BOYLE], Ul poylom oy iAmey
OISIOURL] UES B SCA Taaads ‘Joqunu sy} peared | “weunrede Aur ut yoeg
juin pood € sapy TES & WIN Sale), “PIES SsSUTSNG & Stu papuey
aH , wonrqo:d Inod oRe 1Ussop JOULSWOpsSTU V,, ‘AZIOM 0} 10U pres pue
gu painsseal pal resqjo uonEqord Aur Jo aoTYO at 0] JaAa0 poyyem J
“I9Y AAeS | StUTI ASE] YY ‘TOyVOUT AW IC ‘eu parauiod & 10 —jueyap
‘oSeaes ‘(adue ‘nou SuTpeus e ‘sad P[lM— P[FYPO SUeSUT Ue SAT] payooy
UEWIOM ayy, ‘yasdu pezradooer Apprey pue plosejog aitym-pue-yoeyq
ypeys oy) Je pareys J “yodai ot WWD 0} parvodde yous Snur sy
"PasstAal uowoysyry
“PEPTESIG Joye
no possed | WaT pue InoY UE Joy potatos | az9y} 900 puE paq oT
793 09 pasnger py ‘Te? ath ur yeqy psiou yodal a], ‘patqumas pey |] yey
pur ‘su1I0} Ino Sug pue Suyutidissuy paistser | Jey] ‘OLAeyaq Aur uo
paseq sem quawadpnl srEy ‘uotssassod AuI Ut Jo Jeo AUT UT JoyOoTe Jo sBnIp
OU Puno} st ysnoyy usA9 sdnap UO SeM J pedeseq 9qjO ayy ‘sarsnqge
Ayyeqzaa pue aaneradoooun usaq prey J wut postures wodaz aL ‘aged
asusaty AU Suey lazye JueIIEM YOTEAS & pemmboe pure ospnfe pares Amp
uo ado sy, ‘Wosuer 30} poddeupry Suleq pareay oy yey sorod ayy
pjo2 ay pure ‘euoy soyey sty Je SurArys OOSTOUET] UES WOT qyuaprsard-aoTa
yqueg Jaqoor- & sea op] “Wize TTY Sursne> sdeyiod ‘gsnoy sty o7ut 4esIq
0} }dweye prnom pue paurre oq 1psNT uosied ati paaarjeq ay pres Jaqes
ayL ‘sWoY sJey]e> ey) aprsino BuppNy [ENPIATpUT snoroidsns ev 3umiodar
WY p sed [[e> WSNeNstp & psatorad aoqod ati ey) pres qodai ay], “3s9178
Sunstsar pue Arepsing paydursye ‘ssMopay O44 pusUTUOdal Inq aourq
-ingstp oyqnd iouesurepsrar peUTUTID YA OUT pogaeyo pey Aoyy “sur
-uvwep sem payodar siopref pur sarod ey Azoys ayy, ‘smau peg sem 1

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6LE

“SUIO? JO sf[Or Ssooxe Pu asind Aum yday | artsy AoX pur Ulq 9SEI0}s TMO
Aur pey | JooH ay) WO dy ‘syjor ujoo pue suogeuruoUap snoreA Tr KOOTS
gno yooy> pur uorde Asuour Aur 39a T[09 02 , fueQ,, 217) 0 suTeIsLMOp IAM
] Teataze uody) "W'v 9 03 ‘Wd QO] “YIYs predsarid arp 01 PSUBISSE SEM |
“YBnomyy sures pred § yrioys Aur ‘astadins Aur oy, ‘u0n
-safer io [eaordde 103 skep samy) yem 0} pey [ ust) pur ‘ou pasvuridied
-uy Ady], “9pop Bunuey epeseyy jo a3zag ayp Aq parmber spies 5 TIays

_ .. PUL UreIgO 0} 9007) 1dydeZ ye uoHrIsgns 5 Blisys. AuMOD seyBnag, arp. .

0} sipenUO. JusuIAoTdiS Ino aye) 0} paIIMysUT aIaM ayy “ypeyoded
sPUOUL yxo9U |y} UO You! Aue dutmp asueape yusssed cy & o4 dn
qdaoxe ‘myaueq ou ‘uizrueSio uotwm ou ‘OPTUS & PUE SITY pue yoelg
Team “Qny ay] Wi sorp suo ou ‘AsuOU BurpreSor adooxs YBa seme st
FSUIO ISN dY_L, 's9[NF [duns May & Ul pazreUTUMs aq wes yTYM ssadojduro
SGEMEE MOU Te 10; UOeWatIO UCOUIAYye ue papusye | siodyef yo Aed
0} SOURYIeUT 30/8 ay? 0} shox oy] Jey AoyJ— OUT pred axam pur, usut
Ady, oye? azam Aaya ‘sj0]s ul payzom ose usu YsNoIpY , [1s asueyo
ops, pspy Aunmieyo gof ze ‘sreAeyd aunqoeut JOTS BU) 1oF adueyD unz
OF QTD SWEET ye pomy seas | ‘sauy popunosy jo a8ers ayy Surmq

‘asn qs Aayy w1I93 e ‘Ammo
UI, 09 peuayoys usyo ,‘Anuno > ueIpu,, se ArojII81 payonues-epry
“tend 07 paxiayar Arey oy] pur ATEVPU *S*Q) 2U) UT, sUeTpUy,, a7aM.
.3UOD WIA, SUT UIEWISIA IsUTese JEM St) pure surstisuTy DANY IsuTeSe
Se AINIHSO-Yyusa}9UTU Jy Uaemjeq satdopeue Morzp Apueyyiq wor,

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ory mm 1ood sy ing yeorq Aewt Yor oyy yeyy sofa Auew ape
— T¢0ad asay 7, “UIST YL aseasip & st UOTssassod Jo aAoF ayy,

op soo WsIIaA0F ‘SF Ap noge yowlsyweIs £78] syMg Sumtg woy
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P 0) uedaq Soursisar Jusuaaoy] UEIPU] UeorIoUNY oui pur

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aspasig] P Sy uorssassog fo ano] ayy, “Yooq mau suapAepy WO], Burpeay
‘aoueleadde ut usas ‘soejd pue
QUI UT sdUaIapIp ay) [J22 0) ayqissodwumt useq sary prnom 4 ‘pauondes
useq Jou ATT) PEL N68]. UE XNOTS 9} Jo a1dEsseut AULIE d9tDy pepunoy
at) Woy SEM ISTO 3) pue Te] AW Woy sem sUGC ‘ssTpog popu
‘Apooyq jo afd & jo ysee ‘sydeidojoyd om} alas sappnre omy ary useMmj}0q

UL sary papunom, uo appre ur sem rey AW uo aprze 31) 0) 3xeN |

TR 905 oFUr
OP NeWIOINE sty Bury pue [jem e WMop ue pjo pedoow & Bumony
padarasqo uaeq pey Aayes uralaqas Tey AJA] 220Joq syaam May & JAAS Ue
peqiosep ose spare syy, “YUe|q-31od 31 JOYS Vays “y>eq IE Mary puE Be]
ayy Aq dn 1 paxord ay ‘saTpog pezsesset TUM payy yourp e way surpaeso
Aqeq & MES OT] USTLA\ (peqtiasop sem rey AP] 3 syoe sAaTTLD Jo suG aye;
Aumun{ Jouraaos esos sem siovoddns Japie your sty Jo suo 3ey
pue Sr amp Aq py AMAOd,, ® 8 papney sem ay yey] Apyaom si9y9] 0d
-dns Jo sparpuny peatsoer ou oray [EUONEL & pouUTetiad ay zeyI pouTEp
apuze ayy ‘etdiocas ‘uruusg wo ye sieyenb siesqgo snommxny
qsaiIe SOY JapuN aouaquas reak-AqUaM} sty SulAros sem Ages , Aasty,,
TORN AN “YF et parers aporre ayy, ‘Tey AW wo sydergojoyd ym amngeay ©
SEM DOTY papunoyy Jo sydeisojoyd pure smou o8ed-juoy ouy apisag ‘WT
AW pure aaty pepunoyy, vaamjag Adoyeue 9tH proar oj o[qissodun seas
yj ‘stadras Areypun pur ‘staydosrjay Aonyy ‘syue} Auire Aq papunoiins mou
jopuey uoMearasal AU at} ‘sary papunoyy 3 Yopurys a19 Jo Aep yyUE
-Y8i2 ay} WO permMos0 aressem rey AW et JO Axesiaaruue qyg aah
‘Spun 803] WeSTIAUTy sane] UF
sIe]OP JO suoTIq Jo yuowoFeuewsna JUatMUIsA08 pasodxs yer sqwenn
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JO 34} UC ‘sedewsep ul vow Ze IaAo Uaeq pey azays yey pavodas
yusTITMIAAOS 31) ‘“Surping ay payeoea pet SUEMIOUNY aanepy ou) JAY
“SOB8T 242 Ur pauopuege usaq pey yey drysuoneles
SUTFEWI-Aleal} FU) SIE SUTSI pue sUEDTIATY SANA] TOL opel soba
ay} JouoY TW IYI :JuatUIaAC, [erapay SY} JO samba prom ucpeurut

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‘Ayan pur poisi4) 99¢y ‘pasnsojun pue aaning sodo {Burs pur paquiozun
Fey—ioys Snr Aur jo dnmojq a8ny ve dn yas pey ioynsasord amp ey
PoIsaooasIp PUE WOOINOGD s0YE], axe] YANG oy) polequa | pue ‘Yeuuepy
‘radmeyl AW ‘Aep & ATWO pagsey yerp fern e pey J ‘Apa uy ‘ised eonyod Aur 09
payer peusess ysaize Arenuef Aw pue ‘[q.j 9u) Jo wsts ou sem aTT I,
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~O1sTY Ploy puE syaioas paroqzey sn jo Aue] ‘suonsenb ou poyse oy

vous ee PUP SQNJS 9) Ul PoyTOM, OTM SUUDISUED ath Jo allo se ayqeiopuias W237

‘MOU JENTUILY TE SISA, “SUTEJUTLOT 9U) JO apis IIYIO at) UO Yesep ay} ‘SALT
ayp ‘serzo1g oy, Aoumof prey “Suoy € uo useg pj “394 3 UT aAT] 07 pared
—aad seas | uTe}Ia9 yusem J Ysnoyye—ppoM ear sy) 0] —UWEUUOS oT
Jo ape ayj 01 umop sdim ayy pasofus 7 Aarunumut0d Jo pury ¢— enue
pue ‘smoqdou pue sacar Aur Apmy pue uel pey { ‘vopt al poy
yeuueEy ‘Ayjeres arour amyny oy} Jepisuo2 pur ‘Asuow anes “ym pue
Aejs 0} read & OF HT SUOd}sod 03 payduarsy seas | ING ‘Tey 82 Ur Tooyls Mery
puene 3 Suraurld y[ps sem | ‘owOY ayT [s9j 0} SurumBaq sem SOyRL,
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799M E S21a4} JO aoul0 pue ‘soo SUPTY YSN a ‘sSINoY Asay & Joy days
Way pue ‘porreds PUE SULIO} mo paoyoeid ‘aui0y SAorp pur SADATELT Je SE}
“FPaIg oe am ‘OM Joye SuTUIOUL YoRT oye] PY} Sule ‘aSereF Ino jo joor
tf Uo aoeds Ppapuom & UT prp am yor ‘sonoed og uemy BEL, poatasr
GPaUrH ‘apa Area adaps yioq ay ‘syeuepy Je OUSY ur yrys predsaeid
oY O80 pamy sem YeuLEP] ‘suTeIUNOU augM SuTUAISTs 31] &q pourey
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on QS. JELY.TATL PAINE PUP SOYBL 3, oul miof 04 Jay pesemnosue | ‘syuared —

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ur suvotsury aaneny jo pedenjzod paiorsip aq jmoge JUSUTSIEIS B SAEUt
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opurig uopey ‘spremy Auropesy at Jo qed payoyem J “yom 21074
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peuMorIp punos sy YA ING ‘saSeull 9U) BUTIIEM ‘sIOTIIEM UEITISUTY
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SAI] SU) payayem | PUE IY “WOTsLAaPe? 1OTOO o8rey & pey seg Agyg e4L
‘JaTPO YI 0} STUSUTLULO) OU TAL spusLy SUTYLULSAOT JEUOTSEIIO SuTeI94q
| UE YA TL EM PHOM Sutmp suepd esuazop Ot UT yaom 3 eTUTOFTED 9%
payoog pey oya sytrewrur ssorpi—,,saTFO Sac], JO WOs otf “erJOPED)
th pasted ‘EMOTE Woy UeTpul MEO) E SBA aET WY Q Te pepus
Ys esoya Jopuoyreq predoaks8 arp ‘TA WLM Spulory epeur p] “YS ammoy
~sy8r19 Aur poystag J usyas “W'v 9 Joye Jed Aei syeriepy ye ano Suny J

“yrys Inoy-IS1a atp Sump ssaoord ay) Suneadar ‘yeorq Pun soy
om) JOT UoWIAs pausrsse AUT Ut aUTyIeUT OF SuTYSEUE TOG er | weal

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YSLIEUYys sy} paleyeys ac1oa sueUl ayy, {ur auI0D am Aeyy,,
"3U UT dn payjam yey} JozI93 91) JYBNO} | pure ‘sun
JIM UST PSULSELUI J “JoaNs 9Y} ssoIDE episypTy oI UO Ysnaq AIP poareis
-IsIEM 3) Ul SUTPsNI prvay | “ELIOYELYO UI yrs opeusz0) & a10Jaq
ysnf papuadsep yer punos jo ssaundiua yep) YIM ‘TMS sem Te at
‘Wey SUTUIZeU WaAd Io ‘a[qnop ButTaas aq WSU
] 38) punu Aw passols 3 pure ‘sampesryEd oyT] poursss ABUT, ‘TITY ay)
JO paoryse Pur SUAMYS sem adtoa aly, ,;IITATAG yorDAg saqwIg pau, -
‘SOURAPE UT IQSTOY AUI paze[nayed pey Aayy JI se ‘Taaaq a4o AUT
Apoexe ye aspeq ploS & prey yory ‘sereuotsspu Jou arom SIMs Yep Ur Wow
OM) 31) Jey AfareIPaUTUN mauUy puE JOOP Jepsd yon ay3 pousdo |
“Wat UO JOOp ayi MYs pue ou Aes AyoaT[od prnom
[—-tptaay] ut snoymbiqn azam Asoy}—AreUOIssre DOULIOW] & sem
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yorod suois 81q & OVO UaYDITy ay) Wo; peusdo yey) JOOP ye stp pasn
2A\ JOOP Jey} pasn J9AdT am asneEsaq JaSUETs & aq ISNUE IOOp 3) Iw sem
TOASOYAA JEW? MoUY [WV [] Je Buel aqioop sip ‘C7 6] “¢ nsny uO
‘sorsap AUL Suizipraz J2A0 [OIJUOS apAy pey [Ts J wey? pouzedy
WOOs | Ng ‘9s Jo aq 0} popssu J Ajayeiadsap moy peztfeai pur ,‘osy)
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“pres euuog ,{Te pure
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PUP ISAO STHOD O] aULOD[aM aq SINS PNOX AUAaIAAOU! UROTIOUTY sane
tH Pls Suppo yo ySnoyI Nod aaepy ‘aq 01 SUI sayes ay JOU §1],,
UEIpY] Ue paleo sutaq SxT] UpTp Jopour Au
18 ‘GL JO parp ays pue werpuy sem ays pres sdeaye isn apdoag ‘oureu pear
a W349 Ou ‘Tay moge surpAur MOU IOP | pure ‘pre srvad JOTY] SoM
4S Ust{a. parp JaTPOU sJoyjoIU AY] “eqLy yYAA MOU ZUOp | 3nq ‘sax,
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ZBE

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‘snqumyjoD raydorstmgD uMo Aaa Mo pey aA “JeYp 2 sure JUpTp ay,
‘payse | gaye] prumesdg w peo nod Aqm yoor seq SI,
‘YET otp Jo appr oyp ur dn poynl yoo pedeys-ouos y Iususpyas [EUS E 7
aroys Yanos atp uo peddois pue oy ue Joao JOF YOU aaorp ay “OxE] SINTEG
at) Suey sem apts ETMIOTTED oy} Uo WoUIdOsAep IeUY SUT Po} euTO
‘SULAAY ASSETS Syl] SALT OMY at) SIOSUTIOD JaArY SOYINUI], MYL “SOYkL
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pplom aut Aes syyOF PTO aq], “seop Josou TH adoy | pue ‘seq JaAaN,,
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so0(] ‘THFHMIRAG Os st DEIR], TMOW,, “Uedaq smous ay) dTIOFIq saquiaidss
UT aoe] yw paste | waym W psovou py “ssai—_ Wayied & paulsoy
pue poureiuer Mous ‘oye] ay) JO Iam ULEIUNOUL 9TH JO Sd1AsID PaMmo
-peys ay) Uy IWOTSyE] soye], 3yI Buope paxyess oar “premssypy +s ADATELY
ye qopjaSor asepyeaIq JOJ JEM am ‘Yom JOYE BuTWIoU! euCQ “eoAed
qyynog Ur wo Surpoy SIOTLTEA ueipuy ST] 0} POO} PeuurS Pue SJOMUET,
quas pey Aiamuruios aye] pruezdg Isy Moy SU ploy yg ‘adeTs sau
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‘AVTUNUUUTOD BY) JO Jaqurawr & se payde20"
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Aur poveyper 1 om oulses mnoy-mojJ-AUaM} OF paurojsndIe ajdoad ym
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AyevqTur partie: am ust at Jo om) PUE SUOULIOYW azam UIST} JO [ez
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prom Amf orp Iq autseur pynoo [Inq ‘gurerZiu © LA Weusoms & Aes |

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‘auoy wuoaf dom sof pauodéop os u,nod Api
‘und v fo jatng ays wodf sapunys

sapunyy ag 1ySimi ysl punos ayy Asaaa
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4aqunu snod 308 syauive) yg yyy dos day,

‘pry ays Aig pur pauawD tg “Ug yeduryzeg weg mou
auf Joy Yorn punos yp ‘uefAg] qog Aq unde Mau [AyUINOUT at} podrd
AT] L. IAISS I3IT9G Se JO Mas Y UOHUSUT JOU PIP SAYSEH SMOU. ATL, -

“pres ays ‘Suruaddey sey

MogE smaT stUOs sazaTP oqAey],, ‘WOTEIS [LO] asop at] —=aOYS GON
aI) UO WOREIS YOOI 9y} 0} IW psuM pure opel ayy 07 popaedo YeuUEFy

“uoTeurssesse AU PalapsO pry alayMew1os SUOsUMIOS

yey Apex] Ar2A at 07 potuses 3 “Butdy peyzeys syoq[Nq esto UT JOO ay
uo Zumits 38 am pu nol pur sopqeyeBoa poiy-mMs paredaad yeuuepy
‘peap sem at yng ‘suoyd ey dn pasyoid 7 ,:724 ION,
_gioAMET & Paqfea NOA sary,

-pouaddey pry yey Jay 07 poureydxe

] ,,SuTaIOU [AUN aes] 3UPNO | Ut stuRD | Ft pres oF] ] Aur roy payse

pure our peddoys uray Jo auQ ‘aoxd oy} 1940 TE sud YIM Wat oie ao],
JUUEXOY ‘UO Suto s7eY MA, SU aplsaq JU ays ,“SuTUAAS oy} Ut eal,
“POYSe | ,,g3t SI SUIT] JEYM,, UT OWIED SYS Woy SU SYOM YEUUEFT

“pasopo woos sada AUT

yng ‘sayjoo yuerp | ‘aur powinsuos elouRleg “SULxIOI ‘sBa, Au paBsny pue

.100F oy) 01 pys [ ‘eayoo duows sprul pue sZ0Cj-ON & PomMolfeais | ISTE

Pure ayeme Agjs 0} papsou | wq ‘9391903 Jo sprul aia AD) AAT] IAT Spry
~oh42 AW ‘aoeyz Aur uo raze poo payseyds pur woompeg oti 03 Jam Y

[Teo sourIsip Suol & speur Jaas

Pry Jaurey ASuys-sjoag Aur soup may om Jo suo WoAaq PFY yyy uTeVIAO
Sean ‘T rnsop auoyd ayy ind j veya pars | ,,Aeqo Sat Appec] ‘syueqL.,,

, Ue aq OF payoo] Aaqy, “Sptq Weta Joy ane YsqeAA

1994 NOK “Yosod Aun Ho 308 07 wey pyor J “P47 NOA aroym Buryse ‘saaqos

HISUA TIES fou aotarag yarnag ‘oSe ape nod Inoge Suryse asnoy ap
"Je. otal sey, Sasuens OM) yey, mOUy NOA JoT 1904 WBnu | wWysnoy J,,

FRE

‘aul oaks 0} Appep Aw poyrem | ‘pry & aay]
Ax 0} payuem | “yeoryy Aur ut dummy & passauddns | ,Appeqi ‘ouy un,
et4a1s [Je NO “Nod OG" patio sea | ‘TKO,
‘VD LUOURTIO Woy Suqer seyyey Aur sem yy ,paddea
sit,, ‘Hoshi ppor  {[yaen,, ‘pedumf | pue Suez auoydazay at],
‘sIOOp TO payoq pur ‘sadezp arp
Marp ‘MOpUIM sINgord arp Woy wer | “sreNooUIG YsnopP oul 3 parsed

apisul uem ayy Aemysry ayy ssomoe poyzed uepas WoRIq & peomou | -

das t st sm, Fesdou pjor | .ATUNEL,, SaTquren sem J sxe] sya Ie Sur
-yoo] oputm singotd ayy Aq Iayoor ay} UT yes pUe JOOP ay) Pesop |
_uaT un
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SUTUIOU MOLIOUIO} [HUN asnoy smyi save] JOU Op Nod Jey} pepusuMUIer
St J] “payyem 3q [LM Nod Aepo3 azay syeods quaprsaid-aata ot way AA,
sUISTp Joy stureu AU UIs 0 se paras Jo prdtys os sem | FU} Aqjear Aouy
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-uad pur pedajou & paptarxe yr Aut uo 30 SUL, -uorordsns jo yasinoA
zea ued nod ‘Sungrimpuey Inod jo aydures e THM sn apraoaid ysnf pnod
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‘goed Ul API pauretiiad JOO}
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wMeusy “I ordg a[qriou0H,,
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yey Ayuo ‘SUTEU SHY T[EIo7 yupynoa Aqyeas I _.ejaaptsard-so1a au} ROU AAs,
{MMOILOUIO} JUptsaid-as1a ay} ayeutssesse 02 UET Nos yery pure ‘sue
auy Ur surex yup dnioad ystrors9q & pray NOA JI WoNenoyur ary a/h.,
‘31 paddoys aoys poddn-Surm ‘yse7q ‘Aurys ¥
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cteqUunc(] 2uUPXO YY ale NOA,,
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“ygearg Aut 03 Surusysy ‘Appears pure Aydeap
peyyeaiq y Apoq At wioy pourerp reay pue Flasdua pasoduros | -queTuollt

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-aroas [esa] aya ainb J “prrgorrej ye Jus Foom~=xis Au oO} SyuET JeyA noge ~

Jo] © Mouy Apeorye | ‘o109 onsie Wp sAQsnpur om szorgqnd o7 poywen
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st} Woy uewidArisg Pg Ul [ ‘UINy YsnomM] asmned ay) Ul oULOTID-UOU
ATuo at pue uewiom AjUO aq) sem | ‘Joqsauies Te} ayy SurmMp meq ogre]
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“S9e]q SEA OYM IOAMET IOQR] WOIay ay) Jadurg uese,y uy “SuTOp ara
YT Man] aq Jo suvraiaa Auer os se ‘Mey JOQET UT azqELeds 07 pouuerd 7
‘SONFO pre yedaz Aqunos ai ye Arejaroas Teday ev sv
STI [ITY poyom pur userord Sumssa Teah-InoF E UO fOOYIs me] UEdaq |
"(99e] sxe9K omy parizewt sys Oya) saquTAd OURITYD Jepfo ue 103 J9UIsIp
omder3 & se qof e yoo: yeuuezy uoog “reak snotaaid a ayy & yers
0} pet prey | Bay Yoeq ‘AaTTeA, BIETD EIUES By} OF PAAOT | pue TEUUEET

«7 UTI SAT] [fey szeoa ‘oureys & ey)
iUTY,, Sursurs ‘ouerd ayy ie apqueUl Jorg Jo yoyq e& oy] ‘Fastury ounuoc]
Sey Sean J] “aBuno] AAOYUS JaIEGED BY} OF SUI AMOI ‘YMA AUT WOT yeag Iet
“Trey & ‘orsne JO punos ayy, INoY IYSTApTT ayy ‘xDD ayI Ie Payxoor J

‘PIS | .SUMTIOW Jy Ul SALT TPM Pur asnoy sy} dn asop? TLL,
stm, ueaurts - “00 Surmuns QO pesn
H pies oys ‘yrys jo pus 2p Je Uoyeustsaz AU UT UM) TLI,,
PARI 0} STU $I] “SI9Y JO INO 393 0] sary | pur ‘sax,
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pynoo yey wsswed & Jo qed aq 0} pautass 7] “UOJSNOL] Ul soe UTEU ay]
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TOD dU Jaze] PUL YOM ye OUT paysarze WEI} TYAS OY) Tey PUES]
Ul SUID Jey) Noge SurzUIY “JOOG aq} 0} sateas oT dn ApMoys payyem J

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apes] LBSTRIS PSU] Sep Jo Trsptsard-soes S97 "YEA,
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